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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION


 UNITED STATES OF AMERICA,

         v.                                                    CASE NO.: 4:24-cr-68

 RONALD MILTON

                   Defendant.


                                            ORDER

        After a careful de novo review of the entire record, the Court concurs with the Magistrate

Judge's January 24, 2025, Report and Recommendation, (doc. 38), to which Defendant Ronald

Milton has objected, (doc. 39).      For the following reasons, the Defendant’s objections are

OVERRULED, the Report and Recommendations is ADOPTED, (doc. 38), and Defendant’s

Motion to Suppress is DENIED, (doc. 27).

        Defendant moves to suppress evidence seized from his person during a search incident to

his arrest pursuant to a criminal warrant. (Doc. 38, p. 1.) Defendant argues the warrant was

defective because it was based on an affidavit that lacked probable cause. (Id., p. 4.) The

Magistrate Judge recommends denying the motion because the state court judge who issued the

arrest warrant had a substantial basis for finding probable cause, and, even if the warrant were not

supported by probable cause, suppression would still be inappropriate under the good faith

exception established by the Supreme Court in United States v. Leon, 468 U.S. 897, 914 (1984).

(Id., pp. 6-11.)

        Defendant’s objections reiterate his argument that the warrant was issued without probable

cause since it was based on a warrant application and affidavit that failed to “establish[ ] the basis
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for the officer’s belief that the crime occurred or that the offender was Defendant Milton.”

(Doc. 39, p. 2.)     The Magistrate Judge’s recommendation emphasizes the “exceedingly

deferential standard” that must be employed when reviewing the state court judge’s probable cause

determination. (Doc. 38, pp. 5-6.) The Court concurs with the Magistrate Judge that, under the

applicable deferential standard, the issuing judge had a substantial basis for finding probable cause.

(Doc. 38, p. 6.) Even if the Court were to disagree as to the existence of probable cause, however,

the Defendant would still not be entitled to the application of the exclusionary rule.

       Defendant argues against the application of Leon’s good faith exception, reaffirming his

argument that the state court judge who issued the warrant merely “rubber stamped the officer’s

assertion that probable cause existed to believe that a crime occurred and that Defendant Milton

had any connection to it.” (Doc. 39, pp. 2-3.) The Court disagrees, instead concurring with the

Magistrate Judge’s conclusion that “Judge Williams did not ‘cross the line and wholly abandon

[her] judicial role’ when she reviewed [the facts in the affidavit] and issued the warrant.” (Doc.

38, pp. 9-10.)     Moreover, the Report and Recommendation accurately states the Eleventh

Circuit’s instruction that the exclusionary rule should only be applied if “the police exhibit

deliberate, reckless, or grossly negligent disregard for Fourth Amendment rights.” (Id., p. 10

(quoting United States v. McCall, 84 F.4th 1317, 1323 (11th Cir. 2023)).) The Court agrees with

the Magistrate Judge that the police conduct in this case is not the type contemplated by the

Eleventh Circuit, and that the officer who executed the arrest warrant was objectively reasonable

in his reliance on the warrant. (Id., pp. 10-11.)




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      For the foregoing reasons, therefore, the Defendant’s objections are OVERRULED, and

the Court ADOPTS the Report and Recommendation as its opinion.          (Doc. 38.)   The

Defendant’s Motion to Suppress is DENIED. (Doc. 27.)

      SO ORDERED, this 14th day of February, 2025.




                                 R. STAN BAKER, CHIEF JUDGE
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA




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